70 F.3d 1262
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clark M. NEILY, III, Plaintiff-Appellant,v.Anton S. GARDNER, in his official capacity as County Managerof Arlington County;  William S. Stover, in hisofficial capacity as Chief of ArlingtonCounty Police, Defendants-Appellees.
    No. 95-1940.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Nov. 27, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-95-213-A)
      Clark M. Neily, III, Appellant Pro Se.  Ara Lois Tramblian, Assistant County Attorney, Arlington, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Neily v. Gardner, No. CA-95-213-A (E.D.Va. Mar. 31, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    